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        Exhibit A
   (Almanzar Declaration)
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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION


BELCALIS MARLENIS ALMÁNZAR,

                            Plaintiff,
          v.                                        Case No. 1:19-cv-01301-WMR

LATASHA TRANSRINA KEBE a/k/a
LATASHA TRANSRINA HOWARD and
KEBE STUDIOS LLC,

                            Defendants.


           DECLARATION OF BELCALIS MARLENIS ALMÁNZAR

      I, Belcalis Marlenis Almánzar, make the following declaration:

     1.        I am the plaintiff in the above-entitled action. I have personal

knowledge of the facts set forth herein.

      2.       I am twenty-eight years old. My date of birth is October 11, 1992.

      3.       I am a Grammy award-winning musical artist, songwriter, and

television personality professionally known as “Cardi B.”

      4.       Since the release of my debut mixtape in 2015, my music has reached

peak positions on charts in the United States and around the world.
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      5.     As a result of the popularity of my music, I have millions of fans in

the United States and around the world.

      6.     In my personal life, I am a proud and loving mother of a young girl,

and I have been recognized for my philanthropic endeavors.

      7.     On or around September 19, 2018, Defendant Latasha Transrina Kebe

(“Kebe”) published a video interview on YouTube with an individual named

Starmarie Jones (“Jones”) entitled “Exclusive: Cardi B’s Ex-FRIEND ALLEGES

Cardi B. Kept A Huge Box filled with MONlSTAT & REVEALS More!” (the

“9/19/18 Video”).

      8.     Jones claimed in this video interview that I was a prostitute, that I

used cocaine, and that I have herpes. Each of these statements is false.

      9.     In order to make her stories about me seem believable, Jones also

claimed we were roommates. However, Jones never lived with me.

      10.    Kebe has published numerous malicious and vile videos and social

media posts containing false and defamatory statements that I have herpes, that I

have HPV, that I used cocaine, that I appeared in a video placing a beer bottle in

my vagina, that I committed infidelity, and that I was a prostitute (the “Defamatory

Statements”). Each of these statements is false.




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      11.    I do not have herpes. On August 12, 2020, I was tested for herpes at

UCLA and the results were negative.

      12.    I also do not have HPV. On September 23, 2020, I was tested for HPV

at UCLA and the results were negative.

      13.    I have never used cocaine.

      14.    I am not the person depicted in the video placing a beer bottle in her

vagina and I have never engaged in such an act.

      15.    The video Kebe described has been shared on the pornography

website PornHub. I have publicly stated on multiple occasions, including on

Twitter, that I am not the person depicted in this video. Because Kebe evidently

follows my social media accounts, I believe she was aware that I had made these

statements before she falsely claimed that I appeared in this video.

      16.    I have never committed infidelity.

      17.    I have never been a prostitute.

      18.    The Defamatory Statements published by Kebe and her intentional,

vicious, and relentless cyber-bulling campaign to defame and harass me have

caused me intense stress, tremendous shame, embarrassment, humiliation, mental

anguish, and severe emotional distress. I have been seeing a clinical psychologist,

Dr. Sherry Blake, since 2018 as a result of the Defamatory Statements. I continue


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to receive individual psychotherapy and have been diagnosed with depression and

anxiety due to the overwhelming emotional distress inflicted on me by Kebe.

      19.   The Defamatory Statements have further caused significant damage to

my name, character, and my reputation.

      I declare under penalty of perjury that the foregoing is true and correct.

Dated: December 29, 2020



                                       Belcalis Marlenis Almánzar




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